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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                                   FILED
                                                                                   SEP   6 2022
MELISSA HICKSON ET AL.,                       §
             PLAINTIFFS,                      §
                                              §
                                              §
                                                                                                PUry
V.                                            §
                                              §
                                              §     CAUSENO. 1:21-CV-514-LY
ST. DAVID'S HEALTHCARE                        §
PARTNERSHIP, L.P., LLP, DOING                 §
BUSINESS AS ST. DAVID'S SOUTH                 §
AUSTIN MEDICAL CENTER ET AL.,                 §
               DEFENDANTS.                    §




                    ORDER ON REPORT AND RECOMMENDATION

       Before the court in the above-referenced cause are Defendants Carlye Mabry Cantu,

M.D. and Hospital Internists of Texas's Motion to Dismiss (Doe. #10), Defendant St. David's

Healthcare, L.P., LLP's ("St. David's") Motion to Dismiss (Doe. #11), Defendant Viet Vo,

M.D.'s Motion to Dismiss (Doe. #13), Plaintiffs' Motion to Disqualify (Doe. #31), and all

responses and replies, which were referred to a United States Magistrate Judge for Report and

Recommendation.     See 28 U.S.C. § 636(b); FED. R. Civ. P. 72; Loe. R. W.D. Tex. App'x C, R.


1(d). The magistrate judge rendered a Report and Recommendation on August 8, 2022 (Doe.

#44), recommending that the court grant the three motions to dismiss and dismiss the motion for

disqualification as moot.

       A party may serve and file specific written objections to the proposed findings and

recommendations of a magistrate judge within 14 days after being served with a copy of the

report and recommendation and thereby secure de novo review by the district court.        See 28


U.S.C. § 636(b); FED. R. Civ. P. 72(b). A party's failure to timely file written objections to the
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proposed findings, conclusions, and recommendation in a report and recommendation bars that

party, except upon grounds of plain error, from attacking on appeal the unobjected-to proposed

factual findings and legal conclusions accepted by the district court. See Douglass v. United

Servs. Auto Ass'n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

       Plaintiffs filed objections to the Report and Recommendation on August 22, 2022 (Doc.

#45). In light of the objections, the court will undertake a de novo review of the record and

applicable law in this case.

       Plaintiffs first object to the magistrate judge's recommendation to dismiss the claims

under the Rehabilitation Act and the Patient Protection and Affordable Care Act (the "Acts").

See 29 U.S.C. § 794; 42 U.S.C. § 18116. Plaintiffs argue that the applicable sections of the Acts

prohibit disability-based discrimination in healthcare contexts, which, Plaintiffs argue, provide

distinct claims unrelated to medical malpractice. The court agrees with the magistrate judge that

Plaintiffs' claims ultimately relate to medical-treatment decisions, which are not the type of

disability-based claims envisioned under the Acts. See Kim v. HCA Healthcare, Inc., 2021 WL

859131, at *2 (N.D. Tex. Mar. 7, 2021); Guthrie v. Niak, 2017 WL 770988, at *14 (S.D. Tex.

Feb. 28, 2017).

        Plaintiffs also object to the magistrate judge's recommendation to dismiss Plaintiffs'

Fourteenth Amendment civil-rights claims. See 42 U.S.C. § 1983 ("Section 1983"). Plaintiffs

argue that the magistrate judge erred in concluding that Plaintiffs failed to plausibly allege that

Defendantsall private actorsacted under color of state law. The court agrees with the
magistrate judge's analysis of Plaintiffs' claims under Section 1983.        Having reviewed the

objections and entire case file, the court will overrule Plaintiffs' objections and accept and adopt

the magistrate judge's Report and Recommendation for substantially the reasons stated therein.



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         IT IS THEREFORE ORDERED that Plaintiffs' objections to the Report and

Recommendation (Doc. #45) are OVERRULED.

         IT IS FURTHER ORDERED that the United States Magistrate Judge's Report and

Recommendation (Doc. #44) filed in this cause is APPROVED and ACCEPTED by the court.

         IT IS FURTHER ORDERED that Defendants Carlye Mabiy Cantu, M.D. and Hospital

Internists of Texas's Motion to Dismiss (Doc. #10) is GRANTED as follows:             Plaintiffs'

informed-consent negligence claims (Count 5), failure-to-guide negligence claims (Count 6), and

Section 1983 claims (Count 8) against Cantu and Hospital Internists of Texas are DISMISSED

WITH PREJUDICE. Plaintiffs' negligence, negligence per Se, and wrongful-death claims

(Counts 3, 4, 7, and 9) against Cantu and Hospital Internists of Texas remain pending before the

court.

         IT IS FURTHER ORDERED that Defendant St. David's Healthcare, L.P., LLP's

Motion to Dismiss (Doc. #11) is GRANTED as follows:                   Plaintiffs disability-based

discrimination claims under the Acts (Counts 1 and 2), informed-consent negligence claims

(Count 5), Section 1983 claims (Count 8), and intentional-infliction-of-emotional-distress claims

(Count 10) against St. David's are DISMISSED WITH PREJUDICE. Plaintiffs' negligence

and wrongful-death claims (Counts 7 and 9) against St. David's remain pending before the court.

         IT IS FURTHER ORDERED that Defendant Viet Vo, M.D.'s Motion to Dismiss (Doc.

#13) is GRANTED as follows:        Plaintiffs' failure-to-guide negligence claims (Count 6) and

Section 1983 claims (Count 8) against Vo are DISMISSED WITH PREJUDICE. Plaintiffs'

negligence, negligence per Se, and wrongful-death claims (Counts 3, 4, and 9) against Vo remain

pending before the court.




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       IT IS FINALLY ORDERED that Plaintiffs' Motion to Disqualify (Doc. #31) is

DISMISSED in light of the court's dismissal of Plaintiffs' intentional-infliction-of-emotional-

distress claims.

        SIGNED this              day of September, 2022.




                                             LEEAEL/                 P
                                             UNItED STATES DISTRICT JUDGE




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